                                   Case 18-10700-MFW                           Doc 1         Filed 03/27/18                Page 1 of 29
 
Fill in this information to identify the case

United States Bankruptcy Court for the:

                           District of   Delaware
                                         (State)
Case number (If known):                                       Chapter       11

                                                                                                                                                    ☐ Check if this is
                                                                                                                                                    an amended filing

    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  04/16
    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
    known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


    1.   Debtor’s name                             Southeastern Grocers, LLC

 
    2.   All other names debtor used               See Schedule 1
         in the last 8 years

         Include any assumed names, trade
         names, and doing business as
         names


 
    3.   Debtor’s federal Employer
         Identification Number (EIN)               XX-XXXXXXX

 
    4.   Debtor’s         Principal place of business                                                      Mailing address, if different from principal place of business
         address
                          8928                     Prominence Parkway
                          Number                   Street                                                  Number                      Street


                          Suite 200
                                                                                                           P.O. Box


                          Jacksonville             Florida            32256
                          City                     State              ZIP Code                             City                        State           ZIP Code

                                                                                                           Location of principal assets, if different from principal place
                                                                                                           of business
                          Duval County
                          County
                                                                                                           Number                      Street




                                                                                                           City                        State           ZIP Code



    5.   Debtor’s website (URL)                    www.segrocers.com


 
    6.   Type of debtor                            ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                   ☐ Partnership (excluding LLP)
                                                   ☐ Other. Specify:



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Debtor                            Case
                 Southeastern Grocers, LLC 18-10700-MFW                   Doc 1         Filed 03/27/18     Page
                                                                                                   Case number        2 of 29
                                                                                                               (if known)
                 Name
 
                                               A. Check one:
    7.   Describe debtor’s business
                                               ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                               ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               ☒   None of the above


                                               B. Check all that apply:
                                               ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   4451 – Grocery Stores
                                            
                                               Check one:
    8.   Under which chapter of the
         Bankruptcy Code is the                ☐ Chapter 7
         debtor filing?                        ☐ Chapter 9
                                               ☒ Chapter 11. Check all that apply:
                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                  on 4/01/19 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return or
                                                                  if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                  1116(1)(B).
                                                                ☒ A plan is being filed with this petition.
                                                                ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                  the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                  Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                  Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                  with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                  1934 Rule 12b-2.
                                               ☐ Chapter 12
 
    9.   Were prior bankruptcy cases           ☒ No
         filed by or against the debtor
                                               ☐ Yes        District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                                  MM/ DD/ YYYY
         separate list.
                                                            District                       When                          Case number

                                                                                                         MM / DD/ YYYY
                                            
    10. Are any bankruptcy cases               ☐ No
        pending or being filed by a
        business partner or an                 ☒ Yes        Debtor         See attached Schedule 2                       Relationship
        affiliate of the debtor?                            District       District of Delaware                          When           March 27, 2018
         List all cases. If more than 1,
                                                            Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.

                                            

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Debtor                           Case
                Southeastern Grocers, LLC 18-10700-MFW                      Doc 1         Filed 03/27/18     Page
                                                                                                     Case number        3 of 29
                                                                                                                 (if known)
                Name
 
     11. Why is the case filed in this       Check all that apply:
         district?
                                             ☒      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             ☐      A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                              

    12. Does the debtor own or have
                                             ☒ No
        possession of any real
        property or personal property        ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        that needs immediate                               Why does the property need immediate attention? (Check all that apply.)
        attention?                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                                health or safety.
                                                                What is the hazard?
                                                           ☐    It needs to be physically secured or protected from the weather.
                                                           ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                securities-related assets or other options).


                                                           ☐ Other
 
                                                         Where is the property?
                                                                                            Number                 Street


                                                                                            City                              State               ZIP Code
                                                         Is the property insured?
                                                                                             ☐ No
                                                                                            ☐ Yes. Insurance agency
                                                                                                       Contact Name
                                                                                                       Phone




                Statistical and administrative information 



     13. Debtor’s estimation of          Check one:
         available funds                 ☒       Funds will be available for distribution to unsecured creditors.
                                         ☐       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

     14. Estimated number of             
                                         ☐       1-49                                      ☐       1,000-5,000                        ☐   25,001-50,000
         creditors                       ☐       50-99                                     ☐       5,001-10,000                       ☒   50,001-100,000
         (on a consolidated basis)       ☐       100-199                                   ☐       10,001-25,000                      ☐   More than 100,000
                                         ☐       200-999

     15. Estimated assets                ☐       $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)       ☐       $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                           ☐       $50,000,001-$100 million
                                         ☐       $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                           ☐       $100,000,001-$500 million

     16. Estimated liabilities           ☐       $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)       ☐       $50,001-$100,000                          ☐       $10,000,001-$50 million            ☒   $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000                                                                    ☐   $10,000,000,001-$50 billion
                                                                                           ☐       $50,000,001-$100 million
                                         ☐       $500,001-$1 million                                                                  ☐   More than $50 billion
                                                                                           ☐       $100,000,001-$500 million

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Debtor                           Case
                Southeastern Grocers, LLC 18-10700-MFW               Doc 1           Filed 03/27/18     Page
                                                                                                Case number        4 of 29
                                                                                                            (if known)
                Name
 

                 Request for Relief, Declaration, and Signatures 


    WARNING   Bankruptcy fraud is a serious crime.  Making a false statement in connection with a bankruptcy case can result in fines up to 
               $500,000 or imprisonment for up to 20 years, or both.  18 U.S.C. §§ 152, 1341, 1519, and 3571. 
 
         17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
             authorized representative of         this petition.
             debtor
                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is
                                                  true and correct.
                                                  I declare under penalty of perjury that the foregoing is true and correct.

                                                      Executed on       March 27, 2018
                                                                           MM/ DD /YYYY

                                                                                                                  

                                                       /s/ Brian P. Carney                                          Brian P. Carney
                                                       Signature of authorized representative of                    Printed name
                                                        debtor 

                                                       Chief Financial Officer and Executive Vice President 
                                                       Title                                                         
                                                                 

 

    18. Signature of attorney                        /s/ Daniel J. DeFranceschi                                                        Date  March 27, 2018
                                                    Signature of attorney for debtor                                              MM / DD / YYYY

                                                    Daniel J. DeFranceschi                                                Ray C. Schrock, P.C.
                                                      Printed Name
                                           
                                                    Richards, Layton & Finger, P.A.                                      Weil, Gotshal & Manges LLP
                                                    Firm Name
                                                    One Rodney Square, 920 North King Street                             767 Fifth Avenue
                                                      Number             Street
                                           
                                                    Wilmington, Delaware 19801                                           New York, New York 10153
                                                      City/State/Zip
                                           
                                                    (302) 651-7700                                                       (212) 310-8000
                                                      Contact phone

                                                    defranceschi@rlf.com                                                 ray.schrock@weil.com
                                                      Contact email address

                                                    2732                    Delaware
                                                      Bar Number             State
                                           
 




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                                                         Schedule 1

                               All Other Names Debtors Used in the Last 8 Years

                               BI-LO 
                               BI-LO Holdings 
                               Dixie Spirits 
                               Fresco y Más 
                               Harveys Supermarkets 
                               Pathstone 
                               Reid’s Market 
                               Southeastern Grocers 
                               Winn-Dixie 




 
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                                              Schedule 2

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                On the date hereof, each of the affiliated entities listed below (including the
debtor in this chapter 11 case) filed a voluntary petition for relief under chapter 11 of title 11 of
the United States Code in the United States Bankruptcy Court for the District of Delaware. The
debtors have filed a motion requesting that the chapter 11 cases of these entities be consolidated
for procedural purposes only and jointly administered under the number assigned to the chapter
11 case of Southeastern Grocers, LLC.

                     COMPANY                CASE NUMBER            DATE FILED         DISTRICT
    Southeastern Grocers, LLC                18-________( )       March 27, 2018        Delaware
    ARP Ballentine LLC                       18-________( )       March 27, 2018        Delaware
    ARP Chickamauga LLC                      18-________( )       March 27, 2018        Delaware
    ARP Hartsville LLC                       18-________( )       March 27, 2018        Delaware
    ARP James Island LLC                     18-________( )       March 27, 2018        Delaware
    ARP Moonville LLC                        18-________( )       March 27, 2018        Delaware
    ARP Morganton LLC                        18-________( )       March 27, 2018        Delaware
    ARP Winston Salem LLC                    18-________( )       March 27, 2018        Delaware
    BI-LO Finance Corp.                      18-________( )       March 27, 2018        Delaware
    BI-LO Holding Finance, Inc.              18-________( )       March 27, 2018        Delaware
    BI-LO Holding Finance, LLC               18-________( )       March 27, 2018        Delaware
    BI-LO Holding, LLC                       18-________( )       March 27, 2018        Delaware
    BI-LO, LLC                               18-________( )       March 27, 2018        Delaware
    Dixie Spirits Florida, LLC               18-________( )       March 27, 2018        Delaware
    Dixie Spirits, Inc.                      18-________( )       March 27, 2018        Delaware
    Opal Holdings, LLC                       18-________( )       March 27, 2018        Delaware
    Samson Merger Sub, LLC                   18-________( )       March 27, 2018        Delaware
    Winn-Dixie Logistics, LLC                18-________( )       March 27, 2018        Delaware
    Winn-Dixie Montgomery Leasing, LLC       18-________( )       March 27, 2018        Delaware
    Winn-Dixie Montgomery, LLC               18-________( )       March 27, 2018        Delaware
    Winn-Dixie Properties, LLC               18-________( )       March 27, 2018        Delaware
    Winn-Dixie Raleigh Leasing, LLC          18-________( )       March 27, 2018        Delaware
    Winn-Dixie Raleigh, LLC                  18-________( )       March 27, 2018        Delaware
    Winn-Dixie Stores, Inc.                  18-________( )       March 27, 2018        Delaware
    Winn-Dixie Stores Leasing, LLC           18-________( )       March 27, 2018        Delaware
    Winn-Dixie Supermarkets, Inc.            18-________( )       March 27, 2018        Delaware
    Winn-Dixie Warehouse Leasing, LLC        18-________( )       March 27, 2018        Delaware



 
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                                      ACTION BY
                                 WRITTEN CONSENT OF
                               THE GOVERNING BODIES OF

SOUTHEASTERN GROCERS, LLC                             OPAL HOLDINGS, LLC
 BI-LO HOLDING FINANCE, LLC                          WINN-DIXIE STORES, INC.
 BI-LO HOLDING FINANCE, INC.                            DIXIE SPIRITS, INC.
      BI-LO HOLDING, LLC                           WINN-DIXIE LOGISTICS, LLC
           BI-LO, LLC                          WINN-DIXIE WAREHOUSE LEASING, LLC
     BI-LO FINANCE CORP.                          WINN-DIXIE MONTGOMERY, LLC
  SAMSON MERGER SUB, LLC                      WINN-DIXIE MONTGOMERY LEASING, LLC
     ARP BALLENTINE LLC                            WINN-DIXIE PROPERTIES, LLC
    ARP JAMES ISLAND LLC                           DIXIE SPIRITS FLORIDA, LLC
     ARP MOONVILLE LLC                              WINN-DIXIE RALEIGH, LLC
     ARP MORGANTON LLC                          WINN-DIXIE RALEIGH LEASING, LLC
    ARP CHICKAMAUGA LLC                          WINN-DIXIE STORES LEASING, LLC
     ARP HARTSVILLE LLC                          WINN-DIXIE SUPERMARKETS, INC.
   ARP WINSTON SALEM LLC

                                        March 26, 2018

               The required members of the board of managers, board of directors, the sole
member, the managing member, the sole manager or the sole general partner, as the case may be
(as applicable, the “Governing Body”), of each of the entities referenced above (each, a
“Company,” and collectively, the “Companies”), do hereby consent to, adopt, and approve, by
written consent in accordance with, as applicable, Section 141(f) of the Delaware General
Corporation Law, Section 18-302(d) of the Delaware Limited Liability Company Act, Section
17-405(d) of the Delaware Revised Uniform Limited Partnership Act, Section 607.0704 of the
Florida Business Corporation Act, and Sections 605.0407 and 605.04073 of the Florida Revised
Limited Liability Company Act, the following resolutions and each and every action effected
thereby:

                WHEREAS, the Governing Body of each Company has reviewed and had the
opportunity to ask questions about the materials presented by the management and the legal and
financial advisors of the Companies regarding the liabilities and liquidity of the Companies, the
strategic alternatives available to them and the impact of the foregoing on the Companies’
businesses;

               WHEREAS, the Governing Body of each Company has had the opportunity to
consult with the management and the legal and financial advisors of such Company to fully
consider each of the strategic alternatives available to such Company; and

               WHEREAS, each Governing Body believes that taking the actions set forth
below are in the best interests of each applicable Company and, therefore, desires to approve the
following resolutions.




 
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     I.   Commencement of Chapter 11 Case

               NOW, THEREFORE, BE IT RESOLVED, that each Governing Body of each
Company has determined, after due consultation with the management and the legal and
financial advisors of the applicable Company, that it is desirable and in the best interests of such
Company, its creditors, and other parties in interest that a petition be filed by such Company
seeking relief under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”); and be it
                FURTHER RESOLVED, that any manager, member, officer or director of such
Company (each, an “Authorized Officer”), in each case, acting singly or jointly, be, and each
hereby is, authorized, empowered, and directed to execute and file in the name and on behalf of
such Company, and under its corporate seal or otherwise, all petitions, schedules, motions, lists,
applications, pleadings, and other documents in the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”), and, in connection therewith, to employ and
retain all assistance by legal counsel, accountants, financial advisors, investment bankers and
other professionals, and to take and perform any and all further acts and deeds which such
Authorized Officer, who may act without the joinder of any other Authorized Officer, deems
necessary, proper, or desirable in connection with such Company’s chapter 11 case (collectively,
the “Chapter 11 Cases”), including, without limitation, negotiating, executing, delivering, and
performing any and all documents, agreements, certificates, and/or instruments in connection
with the transactions and professional retentions set forth in this resolution, with a view to the
successful prosecution of such Chapter 11 Case; and be it
    II.   Retention of Advisors

              FURTHER RESOLVED, that the law firm of Weil, Gotshal & Manges LLP,
located at 767 Fifth Avenue, New York, NY 10153, is hereby retained as attorneys for the
Companies in their Chapter 11 Cases, subject to Bankruptcy Court approval; and be it

               FURTHER RESOLVED, that the law firm of Richards, Layton & Finger, P.A.
located at One Rodney Square, 920 N. King Street, Wilmington, DE 19801, is hereby retained as
attorneys for the Companies in their Chapter 11 Cases, subject to Bankruptcy Court approval;
and be it
              FURTHER RESOLVED, that Evercore Group L.L.C., located at 55 East 52nd
Street, New York, NY 10055, is hereby retained as investment banker for the Companies in their
Chapter 11 Cases, subject to Bankruptcy Court approval; and be it
                FURTHER RESOLVED, that FTI Consulting, located at 227 West Monroe
Street, Suite 900, Chicago, IL 60606, is hereby retained as financial advisor to the Companies in
their Chapter 11 Cases, subject to Bankruptcy Court approval; and be it
              FURTHER RESOLVED, that Prime Clerk LLC, located at 830 Third Avenue,
9th Floor, New York, NY 10022, is hereby retained as claims, noticing and solicitation agent for
the Companies in their Chapter 11 Cases, subject to Bankruptcy Court approval; and be it




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III.      General Authorization and Ratification

               FURTHER RESOLVED, that any Authorized Officer, who may act without the
joinder of any other Authorized Officer, is hereby authorized, empowered, and directed, in the
name and on behalf of each applicable Company, to cause such Company to enter into,
execute, deliver, certify, file and/or record, and perform, such agreements, instruments,
motions, affidavits, applications for approvals or rulings of governmental or regulatory
authorities, certificates, or other documents, and to take such other actions that in the
judgment of any Authorized Officer, who may act without the joinder of any other Authorized
Officer, shall be or become necessary, proper, or desirable in connection with the Chapter 11
Cases; and be it

                 FURTHER RESOLVED, that any and all past actions heretofore taken by any
Authorized Officer in the name and on behalf of the applicable Company in furtherance of any or
all of the preceding resolutions be, and the same hereby are, ratified, confirmed, and approved in
all respects as the acts and deeds of such Company.

               This consent may be executed in two or more counterparts, each of which shall
constitute an original, and all of which shall constitute one and the same instrument. The
secretary of each Company is authorized to place a copy of this consent in the official records of
such Company to document the actions set forth herein as actions taken by the Governing Body
of such Company.

                 [Remainder of page intentionally left blank. Signature pages follow.]




                                                    3
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               IN WITNESS WHEREOF, the undersigned, being all of the members of board
of managers of SOUTHEASTERN GROCERS, LLC, have executed this unanimous written
consent as of the date set forth above.




Name: Chip Cammerer




Name: Kyle Volluz




Name: Neal Goldman




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              IN WITNESS WHEREOF, the undersigned, being the sole member or
shareholder of BI-LO HOLDING FINANCE, LLC (“Holdings”); and through Holdings, being
the sole member or shareholder of BI-LO HOLDING, LLC and BI-LO HOLDING FINANCE,
INC., has executed this written consent as of the date first set forth above.

                                         SOUTHEASTERN GROCERS, LLC


                                         By:
                                         Name: Brian P. Carney
                                         Title: Chief Financial Officer and Executive Vice
                                                President




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               IN WITNESS WHEREOF, the undersigned, being the sole member or
shareholder of BI-LO, LLC, has executed this written consent as of the date first set forth above.

                                             BI-LO HOLDING, LLC


                                             By:
                                             Name: Brian P. Carney
                                             Title: Chief Financial Officer and Executive Vice
                                                    President




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               IN WITNESS WHEREOF, the undersigned, being the sole member or
shareholder of BI-LO FINANCE CORP., SAMSON MERGER SUB, LLC, ARP BALLENTINE
LLC, ARP JAMES ISLAND LLC, ARP MOONVILLE LLC, ARP MORGANTON LLC, ARP
CHICKAMAUGA LLC, ARP HARTSVILLE LLC, ARP WINSTON SALEM LLC, and OPAL
HOLDINGS, LLC, has executed this written consent as of the date first set forth above.

                                         BI-LO, LLC


                                         By:
                                         Name: Brian P. Carney
                                         Title: Chief Financial Officer and Executive Vice
                                                President




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               IN WITNESS WHEREOF, the undersigned, being the sole and managing
member of WINN-DIXIE STORES, INC. (“Winn-Dixie”); and through Winn-Dixie, being the
sole member or shareholder of DIXIE SPIRITS, INC., WINN-DIXIE LOGISTICS, LLC,
WINN-DIXIE MONTGOMERY, LLC, WINN-DIXIE PROPERTIES, LLC, WINN-DIXIE
RALEIGH, LLC, WINN-DIXIE STORES LEASING, LLC, AND WINN-DIXIE
SUPERMARKETS, INC. (collectively, the “Winn-Dixie Subsidiaries”); and through the Winn-
Dixie subsidiaries, being the sole member or shareholder of WINN-DIXIE WAREHOUSE
LEASING, LLC, WINN-DIXIE MONTGOMERY LEASING, LLC, DIXIE SPIRITS
FLORIDA, LLC, and WINN-DIXIE RALEIGH LEASING, LLC, has executed this written
consent as of the date first set forth above.

                                         OPAL HOLDINGS, LLC


                                         By:
                                         Name: Brian P. Carney
                                         Title: Chief Financial Officer and Executive Vice
                                                President




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Fill in this information to identify the case:

Debtor name: Southeastern Grocers, LLC
United States Bankruptcy Court for the:                  District of Delaware
                                                                      (State)
Case number (If known):

                                                                                                                                                       ☐ Check if this is an
                                                                                                                                                       amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                        12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete mailing     Name, telephone number, and email             Nature of the      Indicate if    Amount of unsecured claim 
address, including zip code               address of creditor contact                     claim (for        claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                       example, trade     contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                         debts, bank     unliquidated,    claim amount and deduction for value of collateral or 
                                                                                            loans,        or disputed     setoff to calculate unsecured claim. 
                                                                                        professional 
                                                                                        services, and 
                                                                                        government 
                                                                                          contracts) 
                                                                                                                          Total claim, if        Deduction for     Unsecured  claim 
                                                                                                                            partially               value of 
                                                                                                                            secured               collateral or 
                                                                                                                                                     setoff 
1     Wells Fargo & Company               Attn.: Barry Somrock, VP, CTS Account         Unsecured                                                                  $521,999,409.99 
      Attn.: Barry Somrock, VP, CTS       Manager                                         Notes 
      Account Manager                     600 S. 4th Street, 6th Floor 
      600 S. 4th Street, 6th Floor        Minneapolis, MN 55415 
      Minneapolis, MN 55415               Phone: (612) 667‐8485 
                                          Fax:  (612) 667‐9825 
                                          Email: barry.d.somrock@wellsfargo.com 
2     C&S Wholesale Grocers               Attn.: Rick Rost, VP Acct. Mgr.               Trade Claim                                                                $109,118,926.96 
      Attn.:  Rick Rost, VP Acct. Mgr.    7 Corporate Drive 
      7 Corporate Drive                   Keene, NH 03431 
      Keene, NH 03431                     Phone: (860) 885‐9573 
                                          Email:  rrost@cswg.com 
3     Cardinal Health                     Attn.: Michael C. Kaufmann                    Trade Claim                                                                 $50,521,897.00 
      Attn.: Michael C. Kaufmann          7000 Cardinal Place 
      7000 Cardinal Place                 Dublin, OH 43017 
      Dublin, OH 43017                    Phone: (614) 757‐5000 
                                          Email: 
                                          mike.kaufmann@cardinalhealth.com
4     Coca‐Cola Beverages of Florida      Attn.: John Garris                            Trade Claim                                                                  $5,511,591.33 
      LLC                                 10117 Princess Palm Avenue,  
      Attn.:  John Garris                 Suite 100 
      10117 Princess Palm Avenue,         Tampa, FL 33610 
      Suite 100                           Phone: (904) 673‐9685 
      Tampa, FL 33610                     Email: jgarris@cocacolaflorida.com 
5     Pepsi‐Cola                          Attn.: Jody Palmer                            Trade Claim                                                                  $5,243,550.65 
      Attn.: Jody Palmer                  700 Anderson Hill Road 
      700 Anderson Hill Road              Purchase, NY 10577 
      Purchase, NY 10577                  Phone: (803)‐360‐7661 
                                          Fax: (914) 253‐2070 
                                          Email: jody.palmer@pepsico.com 




Official Form 204                             List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                           Page 1

 
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Name of creditor and complete mailing        Name, telephone number, and email           Nature of the      Indicate if    Amount of unsecured claim 
address, including zip code                  address of creditor contact                   claim (for        claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                        example, trade     contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                          debts, bank     unliquidated,    claim amount and deduction for value of collateral or 
                                                                                             loans,        or disputed     setoff to calculate unsecured claim. 
                                                                                         professional 
                                                                                         services, and 
                                                                                         government 
                                                                                           contracts) 
                                                                                                                           Total claim, if        Deduction for     Unsecured  claim 
                                                                                                                             partially               value of 
                                                                                                                             secured               collateral or 
                                                                                                                                                      setoff 
6     Mondelez Global LLC                    Attn.: Cass Black                           Trade Claim                                                                  $5,110,116.88 
      Attn: Cass Black                       100 Deforest Avenue 
      100 Deforest Avenue                    East Hanover, NJ 07936 
      East Hanover, NJ 07936                 Phone: (862) 251‐2708 
                                             Email: cass.black@mdlz.com 
7     United Natural Food Inc.               Attn.: Craig Terry                          Trade Claim                                                                  $4,559.100.09 
      Attn: Craig Terry                      313 Iron Horse Way 
      313 Iron Horse Way                     Providence, RI 02908 
      Providence, RI 02908                   Phone: (850) 304‐1056 
                                             Email: crterry@unfi.com 
8     Frito Lay Inc.                         Attn.: Sharonda Younger                     Trade Claim                                                                  $4,206,921.76 
      Attn: Sharonda Younger                 998 N John Young Avenue 
      998 N John Young Avenue                Orlando, FL 32804 
      Orlando, FL 32804                      Phone: (404) 497‐8423 
                                             Email: 
                                             sharonda.l.younger@pepsico.com 
9     Coca Cola Bottling Co.                 Attn.: Erica Warren                         Trade Claim                                                                  $4,130,641.10 
      Attn: Erica Warren                     4600 East Lake Boulevard 
      4600 East Lake Boulevard               Birmingham, AL 35217 
      Birmingham, AL 35217                   Phone: (706) 580‐7630 
                                             Fax: (218) 283‐4931 
                                             Email: erica.warren@ccbcc.com 
10    City Facilities Management (FL)        Attn.: Tracey Hulsey                        Trade Claim                                                                  $3,495,021.98 
      LLC                                    8211 Cypress Plaza Drive 
      Attn: Tracey Hulsey                    Jacksonville, FL 32256 
      8211 Cypress Plaza Drive               Phone: (904) 512‐3981 
      Jacksonville, FL 32256                 Email: tracey.hulsey@crhus.com 
11    NSA Media Group Inc.                   Attn.: Katie Kizz‐Zurad                     Trade Claim                                                                  $2,855,914.36 
      Attn: Katie Kizz‐Zurad                 3025 Highland Parkway, Suite 70 
      3025 Highland Parkway, Suite 70        Downers Grove, IL 60515 
      Downers Grove, IL 60515                Phone: (630) 729‐7557 
                                             Fax: (630) 241‐7223 
                                             Email: kathryn.kiss@nsamedia.com 
12    Flowers Baking Co.                     Attn.: Robert Meadows                       Trade Claim                                                                  $2,276,083.56 
      Attn: Robert Meadows                   1919 Flowers Circle 
      1919 Flowers Circle                    Thomasville, GA 31757 
      Thomasville, GA 31757                  Phone: (904) 254‐9274 
                                             Fax: (334) 749‐0835 
                                             Email: robert.meadows@flocorp.com 
13    Seven Up Snapple Southeast             Attn.: Bob McDonald                         Trade Claim                                                                  $2,131,938.91 
      Attn: Bob McDonald                     5301 Legacy Drive 
      5301 Legacy Drive                      Plano, TX 75024 
      Plano, TX 75024                        Phone: (904) 759‐7683 
                                             Email: bob.mcdonald@dpsg.com 
14    Crossmark Retail Services              Attn.: Alex Yakulis                         Trade Claim                                                                  $1,989,802.24 
      Attn: Alex Yakulis                     5100 Legacy Drive 
      5100 Legacy Drive                      Plano, TX 75024 
      Plano, TX 75024                        Phone: (469) 814‐1434 
                                             Email: alex.yakulis@crossmark.com 
15    Hussmann Services Corporation          Attn.: Walter Johnson                       Trade Claim                                                                  $1,477,583.98 
      Attn: Walter Johnson                   3004 Spring Industrial Dr., Suite C 
      3004 Spring Industrial Dr., Suite C    Powder Springs, GA 30127 
      Powder Springs, GA 30127               Phone: (678) 699‐1427 
                                             Email: walter.johnson@hussmann.com 




Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 2

 
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Name of creditor and complete mailing       Name, telephone number, and email           Nature of the      Indicate if    Amount of unsecured claim 
address, including zip code                 address of creditor contact                   claim (for        claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                       example, trade     contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                         debts, bank     unliquidated,    claim amount and deduction for value of collateral or 
                                                                                            loans,        or disputed     setoff to calculate unsecured claim. 
                                                                                        professional 
                                                                                        services, and 
                                                                                        government 
                                                                                          contracts) 
                                                                                                                          Total claim, if        Deduction for     Unsecured  claim 
                                                                                                                            partially               value of 
                                                                                                                            secured               collateral or 
                                                                                                                                                     setoff 
16    McKee Foods Corporation               Attn.: Julie Whit                           Trade Claim                                                                  $1,001,865.05 
      Attn: Julie Whit                      10260 McKee Road 
      10260 McKee Road                      Collegedale, TN 37315 
      Collegedale, TN 37315                 Phone: (423) 290‐7975 
                                            Email: julie.witt@mckee.com 
17    S L Distribution Company Inc.         Attn.: Wade Batten                          Trade Claim                                                                    $967,872.46 
      Attn: Wade Batten                     3105 Sweetwater Rd., #300‐F 
      3105 Sweetwater Rd., #300‐F           Lawrenceville, GA 30040 
      Lawrenceville, GA 30040               Phone: (470) 273‐3194 
                                            Email: wbatten@snyderslance.com 
18    Gourmet Foods International           Attn.: Matt Curl                            Trade Claim                                                                    $907,327.07 
      Attn: Matt Curl                       255 Ted Turner Drive SW 
      255 Ted Turner Drive SW               Atlanta, GA 30303 
      Atlanta, GA 30303                     Phone: (770) 329‐9476 
                                            Email: mcurl@gfifoods.com 
19    Pepperidge Farm Inc.                  Attn.: John Tebbetts                        Trade Claim                                                                    $883,622.18 
      Attn: John Tebbetts                   6270 Windjammer Pt 
      6270 Windjammer Pt                    Cummings, GA 30041 
      Cummings, GA 30041                    Phone: (770) 331‐1598 
                                            Email: 
                                            john_tebbetts@campbellussales.com 
20    Schwan’s Sales Enterprises            Attn.: Ron Slominski                        Trade Claim                                                                    $832,562.80 
      Attn: Ron Slominski                   115 West College Drive 
      115 West College Drive                Marshall, MN 56258‐1747 
      Marshall, MN 56258‐1747               Phone: (952) 841‐4187 Ext. 64187 
                                            Email: ron.slominski@schwans.com 
21    Bimbo Foods Inc.                      Attn.: Mark Berardo                         Trade Claim                                                                    $810,164.57 
      Attn: Mark Berardo                    255 Business Center Drive 
      255 Business Center Drive             Horsham, PA 19044 
      Horsham, PA 19044                     Phone: (407) 619‐9730 
                                            Email: mberardo@bbumail.com 
22    Lami Products Company/Jacent          Attn.: Ken Kniffin, VP New Business         Trade Claim                                                                    $759,743.28 
      Retail                                Development 
      Attn: Ken Kniffin, VP New Business    860 Welsh Road 
      Development                           Huntingdon Valley, PA 19006 
      860 Welsh Road                        Phone: (800) 287‐1604 Ext. 588 
      Huntingdon Valley, PA 19006           Email: kenkniffen@jacentretail.com 
23    Martin’s Famous Bakery                Attn.: Kevin Thibodeau                      Trade Claim                                                                    $668,964.22 
      Attn: Kevin Thibodeau                 1000 Potato Roll Lane 
      1000 Potato Roll Lane                 Chambersburg, PA 17202‐8897 
      Chambersburg, PA 17202‐8897           Phone: (321) 213‐1006 
                                            Email: kthibodeau@potatorolls.com 
24    Mylan Pharmaceuticals Inc.            Attn.: Sean Reilly                          Trade Claim                                                                    $636,757.71 
      Attn: Sean Reilly                     781 Chestnut Ridge Rd 
      781 Chestnut Ridge Rd                 Morgantown, WV 26505 
      Morgantown, WV 26505                  Phone: (781) 552‐9678 
                                            Email: sean.reilly@mylanlabs.com 
25    Tax Collector of JEA                  Attn.: Melissa Dykes, CFO                   Trade Claim                                                                    $610,399.09 
      Attn: Melissa Dykes, CFO              21 W. Church Street 
      21 W. Church Street                   Jacksonville, FL 32202‐3155 
      Jacksonville, FL 32202‐3155           Phone: (904) 665‐6000 
                                            Email: dykemh@jea.com 




Official Form 204                               List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 3

 
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Name of creditor and complete mailing    Name, telephone number, and email           Nature of the      Indicate if    Amount of unsecured claim 
address, including zip code              address of creditor contact                   claim (for        claim is      If the claim is fully unsecured, fill in only unsecured 
                                                                                    example, trade     contingent,     claim amount. If claim is partially secured, fill in total 
                                                                                      debts, bank     unliquidated,    claim amount and deduction for value of collateral or 
                                                                                         loans,        or disputed     setoff to calculate unsecured claim. 
                                                                                     professional 
                                                                                     services, and 
                                                                                     government 
                                                                                       contracts) 
                                                                                                                       Total claim, if        Deduction for     Unsecured  claim 
                                                                                                                         partially               value of 
                                                                                                                         secured               collateral or 
                                                                                                                                                  setoff 
26    Restaurant Technologies Inc.       Attn.: Michelle Nicholson                   Trade Claim                                                                    $609,830.13 
      Attn: Michelle Nicholson           2250 Pilot Knob Road, Suite 100 
      2250 Pilot Knob Road, Suite 100    Mendota Heights, MN 55120 
      Mendota Heights, MN 55120          Phone: (513) 252‐9518 
                                         Email: mnichilson@rti‐inc.com 
27    Waste Harmonics, Inc.              Attn.: Mary Way, VP Company Care            Trade Claim                                                                    $576,372.59 
      Attn: Mary Way, VP Company         7620 Omnitech Place, Suite 1 
      Care                               Victor, NY 14564 
      7620 Omnitech Place Suite 1        Phone: (585) 924‐9640 
      Victor, NY 14564                   Fax: (585) 924‐9676 
                                         Email: mway@wasteharmonics.com 
28    Sherwood Food Distributors         Attn.: Mike Coggins, VP                     Trade Claim                                                                    $562,319.15 
      Attn: .: Mike Coggins, VP          12499 Evergreen Road 
      12499 Evergreen Road               Detroit, MI 48228‐1059 
      Detroit, MI 48228‐1059             Phone: (313) 659‐7300 
                                         Fax: (313) 659‐7717 
                                         Email: mcoggins@sherwoodfoods.com 
29    CompuCom System Inc.               Attn.: Dan Stone, CEO                       Trade Claim                                                                  $542,3683.86 
      Attn: Dan Stone, CEO               8106 Calvin Hall Road 
      8106 Calvin Hall Road              Fort Mill, SC 29707 
      Fort Mill, SC 29707                Phone: (803) 228‐7400 
                                         Fax: (972) 265‐5395 
                                         Email: dan.stone@compucom.com 
30    Hill Phoenix                       Attn.: Robert Livingston, CEO               Trade Claim                                                                    $523,067.71 
      Attn: Robert Livingston, CEO       2016 Gees Mill Road 
      2016 Gees Mill Road                Conyers, GA 30013 
      Conyers, GA 30013                  Phone: (770) 285‐3100 
                                         Fax: (770) 285‐3224 
                                         Email: 
                                         Robert.livingston@hillphoenix.com 




Official Form 204                            List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 4

 
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Fill in this information to identify the case:

Debtor name:   Southeastern Grocers, LLC
United States Bankruptcy Court for the:              District of Delaware
                                                                    (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
        ☐      Other document that requires a declaration
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on March 27, 2018
                                                        /s/ Brian P. Carney
                                                         Signature of individual signing on behalf of debtor
                      MM /DD /YYYY
                                                         Brian P. Carney
                                                         Printed name

                                                         Chief Financial Officer and Executive Vice President
                                                         Position or relationship to debtor

 
 
 




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors

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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :
                                                             :    Chapter 11
                                                             :
SOUTHEASTERN GROCERS, LLC                                    :    Case No. 18– ________ (   )
                                                             :
                           Debtor.                           :
                                                             :
------------------------------------------------------------ x

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
PURSUANT TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

                    Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, attached hereto as Exhibit A is an organizational chart reflecting all of the ownership

interests in Southeastern Grocers, LLC (“SEG”) and its affiliated debtors (the “Affiliated

Debtors”), as proposed debtors and debtors in possession (collectively, the “Debtors”). SEG,

on behalf of itself and the Affiliated Debtors, respectfully represents as follows:

          1. LSF Southeastern Grocery Holdings, LLC, a non-Debtor, owns one hundred percent

               (100%) of the membership interests of SEG.

          2. SEG owns one hundred percent (100%) of the membership interests of BI-LO

               Holding Finance, LLC.

          3. BI-LO Holding Finance, LLC owns one hundred (100%) of the equity interests or

               membership interests, as applicable, of:

                    a. BI-LO Holding Finance, Inc.; and

                    b. BI-LO Holding, LLC.

          4. BI-LO Holding, LLC owns one hundred percent (100%) of the membership interests

               of BI-LO, LLC.

          5. BI-LO, LLC owns one hundred percent (100%) of the equity interests or membership


 
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                      interests, as applicable, of:

                             a. ARP Ballentine LLC;

                             b. ARP Chickamauga LLC;

                             c. ARP Hartsville LLC;

                             d. ARP James Island LLC;

                             e. ARP Moonville LLC;

                             f. ARP Morganton LLC;

                             g. ARP Winston Salem LLC;

                             h. BI-LO Finance Corp.;

                             i. Opal Holdings, LLC; and

                             j. Samson Merger Sub, LLC.

              6. Opal Holdings, LLC owns one hundred percent (100%) of the equity interests of

                      Winn-Dixie Stores, Inc.

              7. Winn-Dixie Stores, Inc. owns hundred percent (100%) of the equity interests or

                      membership interests, as applicable, of:

                             a. BI-LO Holdings Foundation, Inc.;1

                             b. Dixie Spirits, Inc.;

                             c. We Care Fund, Inc.;2

                             d. Winn-Dixie Logistics, LLC;

                             e. Winn-Dixie Montgomery, LLC;

                             f. Winn-Dixie Properties, LLC;

                             g. Winn-Dixie Raleigh, LLC;
                                                            
1
    BI-LO Holdings Foundation, Inc. is not a Debtor in these chapter 11 cases.

2
    We Care Fund, Inc. is not a Debtor in these chapter 11 cases.

                                                                       2
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                    h. Winn-Dixie Stores Leasing, LLC; and

                    i. Winn-Dixie Supermarkets, Inc.

          8. Winn-Dixie Logistics, LLC owns one hundred percent (100%) of the membership

               interests of Winn-Dixie Warehouse Leasing, LLC.

          9. Winn-Dixie Montgomery, LLC owns one hundred percent (100%) of the membership

               interests of Winn-Dixie Montgomery Leasing, LLC.

          10. Winn-Dixie Properties, LLC owns one hundred percent (100%) of the membership

               interests of Dixie Spirits Florida, LLC.

          11. Winn-Dixie Raleigh, LLC owns one hundred percent (100%) of the membership

               interests of Winn-Dixie Raleigh Leasing, LLC.




                                                    3
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                                        Exhibit A

                                  Organizational Chart




 
 
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Fill in this information to identify the case:

Debtor name:  Southeastern Grocers, LLC
United States Bankruptcy Court for the:              District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
        ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
              Other document that requires a declaration Corporate Ownership Statement
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on March 27, 2018
                                                      /s/ Brian P. Carney
                                                       Signature of individual signing on behalf of debtor
                      MM / DD /YYYY
                                                       Brian P. Carney
                                                       Printed name

                                                       Chief Financial Officer and Executive Vice President
                                                       Position or relationship to debtor

 
 
          




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
 
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                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :
                                                             :                     Chapter 11
                                                             :
SOUTHEASTERN GROCERS, LLC                                    :                     Case No. 18– ________ (     )
                                                             :
                  Debtor.                                    :
                                                             :
------------------------------------------------------------ x

                                                               LIST OF EQUITY HOLDERS1

        Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
identifies all holders having a direct or indirect ownership interest, of the above- captioned
debtor in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒ The following are the debtor’s equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

     Name and Last Known Address or Place of                                    Kind/Class of         Number of
               Business of Holder                                                 Interest          Interests Held

         LSF Southeastern Grocery Holdings, LLC
           2711 N. Haskell Avenue, Suite 1700                                  Member Interest          100%
                  Dallas, Texas 75204




                                                            
1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case. 
 
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                          Case 18-10700-MFW                  Doc 1          Filed 03/27/18           Page 29 of 29
 



Fill in this information to identify the case:

Debtor name: Southeastern Grocers, LLC
United States Bankruptcy Court for the:              District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct:
        ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐      Schedule H: Codebtors (Official Form 206H)
        ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐      Amended Schedule ____
        ☐      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
               (Official Form 204)
              Other document that requires a declaration List of Equity Holders
         
        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on March 27, 2018
                                                      /s/ Brian P. Carney
                      MM / DD /YYYY                    Signature of individual signing on behalf of debtor

                                                       Brian P. Carney
                                                       Printed name

                                                       Chief Financial Officer and Executive Vice President
                                                       Position or relationship to debtor




Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors


 
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